Case 14-31229-sgj15          Doc 44      Filed 03/26/14 Entered 03/26/14 12:50:25            Desc Main
                                        Document      Page 1 of 5


 Steven L. Woodrow (admitted pro hac vice)          Scott B. Kitei (admitted pro hac vice)
 Edelson PC                                         Honigman Miller Schwartz and Cohn LLP
 999 West 18th Street, Suite 3000                   2290 First National Building
 Denver, Colorado 80202                             660 Woodward Avenue
 Telephone: (303) 357-4878                          Detroit, Michigan 48226-3506
 Facsimile: (303) 446-9111                          Telephone: (313) 465-7000
 Email: swoodrow@edelson.com                        Facsimile: (313) 465-8000
                                                    skitei@honigman.com
 Jay Edelson (admitted pro hac vice)
 Alicia Hwang (admitted pro hac vice)               Robin E. Phelan, TBN 15903000
 Edelson PC                                         Stephen Manz, TBN 24070211
 350 North LaSalle Street, Suite 1300               Haynes and Boone, LLP
 Chicago, Illinois 60654                            2323 Victory Avenue, Suite 700
 Telephone: (312) 589-6370                          Dallas, Texas 75219
 Facsimile: (312) 589-6378                          Telephone: 214.651.5000
 Email: jedelson@edelson.com                        Facsimile: 214.651.5940
 Email: ahwang@edelson.com                          Email: robin.phelan@haynesboone.com
                                                    Email: stephen.manz@haynesboone.com

 Counsel for Gregory Greene and Joseph Lack

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                            § Chapter 15
                                                   §
 MtGox Co., Ltd. (a/k/a MtGox KK)                  § Case No. 14-31229-sgj-15
                                                   §
          Debtor in a Foreign Proceeding           §
                                                   §

              NOTICE OF EXPEDITED HEARING ON CREDITORS GREGORY
           GREENE AND JOSEPH LACK’S MOTION FOR AN ORDER PURSUANT
          TO BANKRUPTCY RULE 2004 COMPELLING DEPOSITION TESTIMONY
            IN THE UNITED STATES FROM THE FOREIGN REPRESENTATIVE

          PLEASE TAKE NOTICE that the Motion for Setting and Request for Expedited

 Hearing on Creditors Gregory Greene and Joseph Lack’s Motion for an Order Pursuant to

 Bankruptcy Rule 2004 Compelling Deposition Testimony in the United States From the Foreign

 Representative [Docket No. 40] has been granted by the Court.

          PLEASE TAKE FURTHER NOTICE that a hearing on Creditors Gregory Greene and

 Joseph Lack’s Motion for an Order Pursuant to Bankruptcy Rule 2004 Compelling Deposition

 Testimony in the United States From the Foreign Representative [Docket No. 39] has been set

 NOTICE OF HEARING                                                                              Page 1
 D-2254555_1
Case 14-31229-sgj15      Doc 44    Filed 03/26/14 Entered 03/26/14 12:50:25           Desc Main
                                  Document      Page 2 of 5



 for Tuesday, April 1, 2014 at 1:30 p.m. before the Honorable Stacey G. Jernigan, United States

 Bankruptcy Court, 1100 Commerce Street, Room 1428, Courtroom #1, Dallas, Texas 75242.


 Dated: March 26, 2014

                                            By: /s/ Robin E. Phelan
                                            Robin E. Phelan, TBN 15903000
                                            Stephen Manz, TBN 24070211
                                            HAYNES AND BOONE, LLP
                                            2323 Victory Avenue, Suite 700
                                            Dallas, Texas 75219
                                            Telephone: 214.651.5000
                                            Facsimile: 214.651.5940
                                            Email: robin.phelan@haynesboone.com
                                            Email: stephen.manz@haynesboone.com

                                            and

                                            Steven L. Woodrow (admitted pro hac vice)
                                            EDELSON PC
                                            999 West 18th Street, Suite 3000
                                            Denver, Colorado 80202
                                            Telephone: (303) 357-4878
                                            Facsimile: (303) 446-9111
                                            Email: swoodrow@edelson.com

                                            and

                                            Jay Edelson (admitted pro hac vice)
                                            Alicia E. Hwang (admitted pro hac vice)
                                            EDELSON PC
                                            350 North LaSalle Street, Suite 1300
                                            Chicago, IL 60654
                                            Telephone: 312.589.6370
                                            Facsimile: 312,589.6378
                                            Email: jedelson@edelson.com
                                            Email: ahwang@edelson.com

                                            and




 NOTICE OF HEARING                                                                       Page 2
 D-2254555_1
Case 14-31229-sgj15        Doc 44    Filed 03/26/14 Entered 03/26/14 12:50:25             Desc Main
                                    Document      Page 3 of 5



                                               and

                                               Scott B. Kitei (admitted pro hac vice)
                                               HONIGMAN MILLER SCHWARTZ AND COHN
                                               LLP
                                               2290 First National Bldg.
                                               660 Woodward Ave.
                                               Detroit, MI 48226
                                               Telephone: 313.465.7524
                                               Facsimile: 313.465.7525
                                               Email: skitei@honigman.com

                                               ATTORNEYS FOR GREGORY GREENE AND
                                               JOSEPH LACK




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 26, 2014 a true and correct copy of the
 foregoing document was served (i) upon all parties on the attached Service List in the manner
 indicated, and (ii) via e-mail upon the parties that receive electronic notice in this case pursuant
 to the Court’s ECF filing system:


                                                      /s/ Robin E. Phelan
                                                      Robin E. Phelan




 NOTICE OF HEARING                                                                            Page 3
 D-2254555_1
Case 14-31229-sgj15      Doc 44       Filed 03/26/14 Entered 03/26/14 12:50:25   Desc Main
                                     Document      Page 4 of 5



                                         SERVICE LIST

 David W. Parham
 John Mitchell
 Baker & McKenzie LLP
 2300 Trammell Crow Center
 2001 Ross Avenue
 Dallas, TX 75201
 via email: david.parham@bakermckenzie.com
 via email: john.mitchell@bakermckenzie.com

 Erin E. Broderick
 Baker & McKenzie LLP
 300 East Randolph Drive, Suite 500
 Chicago, IL 60602
 via email: erin.broderick@bakermckenzie.com

 Office of the United States Trustee
 1100 Commerce Street, Room 976
 Dallas, TX 75242
 via email: ustpregion06.da.ecf@usdoj.gov

 Christopher L. Dore
 Edelson PC
 350 North LaSalle St., Suite 1300
 Chicago, IL 60654
 via email: cdore@edelson.com

 Edgar Sargent
 Susman Godfrey LLP
 1201 3rd Avenue, Suite 3800
 Seattle, WA 98101-3087
 via email: esargent@susmangodfrey.com

 Jean-Denis Marx
 Baker & McKenzie (Gaikokuho Joint Ent.)
 Ark Hills Sengokuyama Mori Tower 28th Fl
 1-9-10 Roppongi
 Tokyo 106-0032 Japan
 via email: jean-denis.marx@bakermckenzie.com

 John M. Murphy
 Baker & McKenzie LLP
 300 East Randolph, Suite 5000
 Chicago, IL 60601
 via email: john.murphy@bakermckenzie.com


 NOTICE OF HEARING                                                                  Page 4
 D-2254555_1
Case 14-31229-sgj15      Doc 44       Filed 03/26/14 Entered 03/26/14 12:50:25   Desc Main
                                     Document      Page 5 of 5




 Josephine Garrett
 Josephine Garrett, P.C.
 3119 West 5th Street
 Fort Worth, TX 76107
 via email: filing@jgarrettlaw.com

 Mark Karpeles
 6-28-3302, Aobadai 3-chome, Meguro-ku
 Tokyo, Japan
 via first class mail

 Megan Lindsey
 Edelson PC
 999 West 18th St., Suite 3000
 Denver, CO 80202
 via email: mlindsey@edelson.com

 MtGox, Co. Ltd. a/k/a MtGox KK
 11-5, Shibuya 2-chome, Shibuya-ku
 Tokyo, Japan
 via first class mail

 Roger M. Townsend
 Breskin Johnson & Townsend PLLC
 1111 Third Avenue, Suite 2230
 Seattle, WA 98101
 via email: rtownsend@bjtlegal.com

 Rosa A. Shirley
 Baker & McKenzie LLP
 2001 Ross Avenue, Suite 2300
 Dallas, TX 75201
 via email: rosa.shirley@bakermckenzie.com

 The Honorable Jeh Johnson
 Secretary of Homeland Security
 Department of Homeland Security
 Washington, DC 20528
 via first class mail




 NOTICE OF HEARING                                                                  Page 5
 D-2254555_1
